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                   IN THE UNITED STATES DISTRICT couRg
                       MIDDLE DISTRICT OF ALABAMA '  1                       CEIVED
                            SOUTHERN DIVISION
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                                                                                    9: ti
STEPHANIE COLLINS,                                                   DESRA P.
                                                                      U.S.    fIALETT., CLK
                                                                                   COURT
      Plaintiff,                                                                TR1CT ALA

v.
                                                          Civil Action No.: 1:20-cv-296-SRW
KELVIN MITCHELL ANDREWS,
and
ALLIED COMPANY OF THE
WIREGRASS.,d/b/a Allied Fence                             JURY DEMAND
Company

       Defendants.



                                       COMPLAINT

                                     INTRODUCTION

      1.       This is an action for legal and equitable relief to redress the unlawful

discrimination and harassment on the basis of race and sex committed by Defendants.

This suit is brought to secure the protection of and to redress the deprivation of rights

secured by The Civil Rights Act of 1866, 42 U.S.C. § 1981 et. seq. (hereinafter "Section

1981") and Alabama state law, including racial discrimination, a hostile work

environment, retaliation, outrage, invasion of privacy, intentional infliction of

emotional distress, and false imprisonment.

      2.      Plaintiff demands a trial by jury of all issues so triable.
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       3.       The conduct of Defendant, Kelvin Mitchell Andrews, is reprehensible,

atrocious, extreme, outrageous, intentional, and beyond all possible bounds of decency

and is utterly intolerable in a civilized society.

                                          PARTIES

       4.       Plaintiff, Stephanie Collins, is over the age of 19 and is a resident of

Dothan, Houston County, Alabama.

       5.       Defendant Kelvin Mitchell Andrews is over the age of 19 and is a resident

of Dothan, Houston County, Alabama and can be served at 5856 E Cottonwood Road,

Dothan, Houston County, Alabama.

       6.       Defendant Allied Company of the Wiregrass d/b/a Allied Fence

Company is a domestic limited liability corporation registered in Dothan, Houston

County, Alabama.

                                      JURISDICTION

       7.       The jurisdiction of this court is invoked pursuant to The Civil Rights Act

of 1866,42 U.S.C.§ 1981 and 28 U.S.C. 1367.

      8.        Defendants employed the Plaintiff in Dothan, Alabama where the events

giving rise to Plaintiffs claims occurred. Therefore, venue in the Middle District of

Alabama is proper pursuant to 28 U.S.C.§ 1391.

                                STATEMENT OF FACTS

      9.       Plaintiff is a Caucasian female.

      10.      Defendant, Kelvin Mitchell Andrews,is a Caucasian male.




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       11.    Plaintiff was an employee of Defendant Kelvin Mitchell Andrews and

Defendant Allied Fence.

      12.     Defendant Kelvin Mitchell Andrews is the President, CEO, and sole

member of Defendant Allied Company of the Wiregrass, Inc. d/b/a Allied Fence

Company.

      13.     Plaintiffs stepfather is African-American.

      14.     Plaintiffs boyfriend is African-American.

      15.     Plaintiffs children are biracial.

      16.     In January 2020, Defendant Kelvin Mitchell Andrews made over fifteen

statements to Plaintiff during the course of scope of Plaintiffs employment which

related to Plaintiffs race,sex,and sexual relationships and associations.

      17.     Defendant made these statements with knowledge of Plaintiffs family

background.

      18.     Each of the statements made by Defendant referenced herein are

documented on an audio recording.

      19.     The statements were reprehensible, atrocious, extreme, outrageous,

intentional, and beyond all possible bounds of decency and are utterly intolerable in a

civilized society. For example,Defendant told Plaintiff,

              a) "I ain't a darnn n****r;"

              b) "I am a white man and you better understand that;"

              c) "I am a white man and I am dominant over a damn female;"

              d) "You will never equal a white human. Never;"



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    e) "You are not a white human;"

    f) "You are a white female;"

    g) "You will never equal a human;"

    h) "You squat to pee and you lay down and submit;"

    i) "You are not dominant;"

    j) 'You damn sure do with those f******g n****rs;"

    k) "You lay down and f**k;"

    1) "How the hell do you think you got f*****d by them n*****s?;"

    m) "I'm telling you how the world is. You just don't understand;"

    n) "You think you live in a black world where everyone kisses your ass.

       Well,that ain't the way it is in the white world;"

    o) "You think you are special because you live with n*****s;"

    p) "I can't help what you are. You are a white female who lives with

       n*****s;"

    q) "And you think you are above the rest of us because you live with

       n   k*s;"

    r) "Just like the damn n*****s marching on the street think white people

       owe them something just because the black son of b******s are n   ks;

   s) "Black people are fine. Stay in the black world. There ain't but one

       way to stop em and that's to do away with them. But the world ain't

       going to allow that."




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                                COUNT ONE
                 CIVIL RIGHTS ACT OF 1866,42 U.S.C.§ 1981 et. seq.
                          RACIAL DISCRIMINATION

       20.    Plaintiff realleges and incorporates by references the factual allegations in

paragraphs 9-19 above as if fully set out in specific detail herein.

       21.    The Civil Rights Act of 1866 is one of the oldest civil rights laws in the

United States. Congress enacted the Civil Rights Act of 1866 in response to rampant

racial discrimination. Section 1 of the Act is codified at 42 U.S.C. § 1981. Section 1981

guarantees to "all persons" the same general rights of contract and equal protection and

provides the following statement of "equal rights:"

             "All persons within the jurisdiction of the United States shall have the
      same right in every State and Territory to make and enforce contracts, to sue, be
      parties, give evidence, and to the full and equal benefit of all laws and
      proceedings for the security of persons and property as is enjoyed by white
      citizens, and shall be subject to the like punishment, pains, penalties, taxes,
      licenses, and exactions of every kind, and to no other.

42 U.S.C. 1981(a).

      22.     From Section 1981(a)'s general statement of equal rights, the United States

Supreme Court has inferred a cause of action for claims that private parties have

engaged in intentional racial discrimination.

      23.     Defendants have discriminated against Plaintiff on the basis of her race in

violation of Section 1981 by outrageous statements and conduct.

      24.     As a direct and proximate result of Defendants' unlawful and

discriminatory conduction in violation of Section 1981, Plaintiff has suffered and will

continue to suffer severe harm and damages and is entitled to all legal and equitable




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relief available under the law, including, but not limited to, an award of monetary

damages and other legal and equitable relief in amounts to be determined by a jury.

       25.     Defendants' unlawful and discriminatory conduct was outrageous and

malicious, was intended to injure Plaintiff, and was done with conscious disregard of

Plaintiffs rights. Therefore, Defendant should be punished by an award of punitive

damages.

       WHEREFORE,Plaintiff prays that judgment be entered in her favor and against

Defendants for such relief as is requested below.

                                COUNT TWO
                 CIVIL RIGHTS ACT OF 1866,42 U.S.C.§ 1981 et. seq.
                        HOSTILE WORK ENVIRONMENT

       26.    Plaintiff realleges and incorporates by references the factual allegations in

paragraphs 9-19 above as if fully set out in specific detail herein.

       27.    Defendant Andrews's conduct created a work environment which was

permeated with discriminatory intimidation, ridicule and insult which was so severe as

to alter the conditions of Plaintiffs employment and created an abusive working

environment.

      28.     Defendant harassed Plaintiff and the harassment was motivated by

Plaintiffs association with black people.

      29.     The statements made by Defendant are repulsive and outrageous.

      30.     The conduct was so severe that any reasonable person in Plaintiffs

position would find Plaintiffs work environment to be hostile and abusive.




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       31.     As a proximate result of the foregoing acts and omissions of Defendant,

the Plaintiff has been caused to suffer damages including, but not limited to, loss of

earnings, benefits, and other pecuniary loss, as well as severe emotional and rnental

distress, anguish, humiliation, embarrassment, fright, shock, pain, discomfort and

arudety.

       WFIEREFORE, Plaintiff prays that judgment be entered in her favor and against

Defendants for such relief as is requested below.

                               COUNT THREE
                 CIVIL RIGHTS ACT OF 1866,42 U.S.C.§ 1981 et. seq.
                  RETALIATION - CONSTRUCTIVE DISCHARGE

       32.     The Plaintiff realleges and incorporates by references the factual

allegations in paragraphs 9-19 above as if fully set out in specific detail herein.

       33.     Plaintiff engaged in protected activity under Section 1981 by associating

with a black man.

       34.     As a result of engaging in protected activity, Defendant caused Plaintiff to

suffer adverse ernployment actions by creating an abusive and hostile work

environment.

      35.      The working conditions were so intolerable that any reasonable person in

her position would be forced to resign and ultimately culminate into constructive

discharge.

      36.      As a proximate result of the foregoing acts and omissions of Defendants,

the Plaintiff has been caused to suffer damages including, but not limited to, loss of

earnings, benefits, and other pecuniary loss as well as severe emotional and mental



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distress, anguish, humiliation, embarrassment, fright, shock, pain, discomfort and

anxiety.

       WHEREFORE,Plaintiff prays that judgment be entered in her favor and against

Defendants for such relief as is requested below.

                                      COUNT FOUR
                                       OUTRAGE

       37.     Plaintiff realleges and incorporates by references the factual allegations in

paragraphs 9-19 above as if fully set out in specific detail herein.

       38.     In January 2020, Defendant intentionally and recldessly caused Plaintiff to

suffer severe emotional distress by Defendanes outrageous statements to Plaintiff.

       39.     Defendant's actions toward Plaintiff were so outrageous in character, and

so extreme in degree as to go beyond all possible bounds of decency, and are atrocious

and utterly intolerable in civilized society.

       40.     The emotional distress that Defendant caused Plaintiff to suffer was so

severe that no reasonable person could be expected to endure it.

       41.    Plaintiff demands an award of damages by the jury in an amount to

compensate her for the severe emotional distress.

      42.     In addition to damages for emotional distress, Plaintiff demands punitive

damage to punish Defendant for the intentional, oppressive, willful, and malicious

nature of Defendant's acts.

       WHEREFORE,Plaintiff prays that judgment be entered in her favor and against

Defendants for such relief as is requested below.




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                                      COUNT FIVE
                                  INVASION OF PRIVACY

       43.     Plaintiff realleges and incorporates by references the factual allegations in

paragraphs 9-19 above as if fully set out in specific detail herein.

       44.     In January 2020, Defendant committed a tortious invasion of privacy by

wrongfully intruding into Plaintiffs private activities and affairs in an indecent and

offensive manner and for an immoral and unlawful purpose so as to outrage or cause

mental suffering, shame or humiliation to a person of ordinary sensibilities and thereby

invaded Plaintiffs privacy.

       45.     As the proximate consequence of Defendant's invasion of Plaintiffs

privacy, Plaintiff suffered severe and perrnanent emotional distress including shame,

humiliation, and ernbarrassment.

       46.     Plaintiff demands an award of damages by the jury in an amount to

compensate her for the severe emotional distress.

       47.     In addition to darnages for emotional distress, Plaintiff demands punitive

darnage to punish Defendant for the intentional, oppressive, willful, and malicious

nature of Defendant's acts.

       WHEREFORE,Plaintiff prays that judgment be entered in her favor and against

Defendants for such relief as is requested below.

                                   PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff, respectfully prays that this Court assurne

jurisdiction of this action and after trial:




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      1.     Grant a declaratory judgment holding that the actions of the Defendant,

described above, violated and continue to violate the rights of the Plaintiff as secured by

the respective federal statutes and that a permanent injunction enjoining the Defendant,

and those acting in concert with the Defendant and on the Defendant's behalf from

continuing to violate such laws and for such other and equitable relief as appropriate.

       2.    Grant the Plaintiff an Order requiring the Defendants to make the Plaintiff

whole by awarding her backpay (plus interest), compensatory, punitive and /or

nominal darnages, and loss of benefits in compensation for the wrongful conduct she

endured.

      3.     The Plaintiff further prays for such other relief and benefits as the cause of

justice may require, including, but not limited to, an award of cost, attorney's fees and

expenses.

       Respectfully submitted this 1st day of May 2020.



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PLAINTIFF DEMANDS TRIAL BY STRUCK JURY                 SSUES SO TRIABLE.




                                  Ashton H. Ott



SERVE DEFENDANTS AT:

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5856 E Cottonwood Road
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Allied Fence Co
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